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                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MAINE


TARA J. ROY,                                           )
                                                       )
       Plaintiff,                                      )
                                                       )
v.                                                     )
                                                       )
CORRECT CARE SOLUTIONS, LLC;                           )
                                                       )
STATE OF MAINE, DEPARTMENT OF                          )
CORRECTIONS;                                           )     No. 1:16-cv-00383-JDL
                                                       )
RODNEY BOUFFARD, individually,                         )
                                                       )
       and                                             )
                                                       )
TROY ROSS, individually,                               )
                                                       )
       Defendants                                      )

                               STIPULATION OF DISMISSAL

       NOW COME all parties and stipulate to the dismissal of this action with prejudice and

without costs or attorney’s fees to any party.


Dated: July 30, 2019                             /s/ John P. Gause
                                                 _________________________________________
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                                                 Attorney for Plaintiff Tara Roy




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DATED: July 30, 2019                /s/ Melinda J. Caterine

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                                     Attorney for Defendant Correct Care Solutions,
                                     LLC.

 DATED: July 30, 2019               AARON M. FREY
                                    Attorney General

                                    /s/ Valerie A. Wright
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                                    Attorneys for Defendants State of Maine,
                                    Department of Corrections, Rodney Bouffard, and
                                    Troy Ross




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